
Motion by defendant Cruz to amend remittitur granted to the extent indicated. Return of remittitur is requested and, when returned, it will be amended by adding thereto the following: *988Upon the appeal herein there were presented and necessarily passed upon questions under the Constitution of the United States, viz.: Whether the rights of defendant under the Fifth and Fourteenth Amendments were denied. Defendant argued that his .rights thereunder were violated by reason of the admission of his allegedly involuntary confessions and the Trial Judge’s advice to the jury that he had made an initial determination that defendant’s confessions were voluntary. The Court of Appeals held that there was no denial of defendant’s constitutional rights (21 N Y 2d 691).
